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                EXHIBIT A
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS

           GABRIEL FRANCIS,

                                            Plaintiff,                     Index No.

                                                                           SUMMONS
                                -against-


           BLUESTEM BRANDS (DBA) FINGERHUT,

                                          Defendants.




           To the above named Defendant(s):

                   Y 0 U A RE H E R E B Y S U M M 0 N E D to answer the complaint
           in this action and to serve a copy of your answer on the Plaintiffs Attomey(s) within
           20 days after the service of this summons, exclusive of the day of service (or within 30
           days after the service is complete if this summons is not personally delivered to you
           within the State of New~ ork). In case of your failure to appear or answer, judgment
           will be taken against you by default for the relief demanded in the complaint.

           The basis of the venue designated is Plaintiffs address.


           Dated: April 3, 2017


           Edward B. Geller, Esq., P.C.          To: Bluestem Brands (DBA) Fingerhut
           Attorney for Plaintiff                    Defendant
           15 Landing Way                            6509 Flying Cloud
           Bronx, New York 10464                      Eden Prarie, M 55344
           Tel:(914)473-6783




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF KINGS

           -----------------------------------------------------------------><


           GABRIEL FRANCIS,                                                            Civil Action No.:


                                               Plaintiff,
                             -against-                                       COMPLAINT FOR VIOLATIONS
                                                                             OF THE TELEPHONE
                                                                         CONSUMER PROTECTION ACT
           BLUESTEM BRANDS (OBA) FINGERHUT

                                               Defendant(s).                      DEMAND FOR JURY TRIAL

           ------------------------------------------------------------------><
           INTRODUCTION/PRELIMINARY STATEMENT


                    Plaintiff GABRIEL FRANCIS ("Plaintiff''), by and through his attorney, M. Harvey

           Rephen & Associates, P.C .,

           by Edward B. Geller, Esq., P.C., Of Counsel, as and for his Complaint against the

           Defendant BLUESTEM BRANDS
                                         ~
           (OBA) FINGERHUT, (hereinafter referred to as Defendant(s)"), respectfully sets forth,

           complains and alleges, upon

           information and belief, the following:


           INTRODUCTION/PRELIMINARY STATEMENT

                    1.       Plaintiff brings this action on his own behalf for damages and declaratory

                             and injunctive relief arising

           from the Defendant's violation(s) under Title 47 of the United States Code, §227

           commonly known as the




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           Telephone Consumer Protection Act (TCPA).

                 2.     Defendant is subject to, and required to abide by, the laws of the United

                        States and the State of New York,

           which include the Telephone Consumer Protection Act of 1991, 47 U.S.C. §227, et seq.

           ("TCPA") and its related regulations,

           including 47 C.F.R. §64.1200 ("TCPA Regulations"), as well as the opinions, regulations

           and orders issued by the

           Federal Communications Commission to implement and enforce the TCPA, the

           telemarketing regulations issued by the

           Federal Trade Commission, 16 C.F.R. §310.4(d)(2).

           PARTIES

                  3.     Plaintiff GABRIEL FRANCIS is a resident of the State of New York,
           residing at 178 Lott Street,

           Brooklyn , NY 11226.

                 4.    Defendant (s), BLUESTEM BRANDS (OBA) FINGERHUT has a
           Corporate Headquarters located

           at 6509 FLYING CLOUD, EDEN PRAIRIE , MN 55344.




                  5.    The within causes of action arose in the County of Kings, State of New York.

           FACTUAL ALLEGATIONS

                  6.     Plaintiff repeats, reiterates and incorporates the allegations contained in

           paragraphs numbered "1" through "5"

           herein with the same force and effect as if the same were set forth at length herein.




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                   7.     On or about August 2Qth 2016, Defendant began communicating with the

           Plaintiff by placing autodialed calls to

           the Plaintiff's cell phone number of 518-788-4066 almost on a daily basis. The calls being

           placed to the Plaintiff's cell were

           intended for another person.

                    8.    On September 12th 2016 the Defendant called the Plaintiff from (866) 625-

           7291 twice in one day,

           once at 12:50pm then again at 8:50pm.

                    9.    Since the start of the calls there has been at least 150 calls made to the

           plaintiff.

           FIRST CAUSE OF ACTION
           (Violations of the TCPA)

                    10.   Plaintiff repeats, reiterates and incorporates the allegations contained in

           paragraphs numbered "1" through "9"

           herein with the same force and effect as if the same were set forth at length herein.

                    11.   AccordingHo the Telephone Consumer Protection Act 47 USC

           §227(b)(A)(iii), "It shall be unlawful for any person

           within the United States, or any person outside the United States if the recipient is within

           the United States (A) to make any call

           (other than a call made for emergency purposes or made with the prior consent of the

           called party) using any automatic telephone

           dialing system or an artificial or pre-recorded voice--- (iii) to any telephone number

           assigned to a paging service, cellular telephone




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           service, specialized mobile radio service , or other radio common carrier service, or any

           service for which the called party is charged

           for the call, unless such call us made solely to collect a debt owed to or guaranteed by

           the United States."

                  12.    It has been determined that the statute language adding "or" any service

           for which the called party is charged,

           is not accurately interpreted to require that Plaintiff must claim that Defendant's calls

           incurred charges.

           See Breslow c. Wells Fargo Bank. N.A. 857 F. Supp 2d 1316, 1319 (S.D. Fla. 2012)

           and Cavero v. Franklin Collection Serv.. Inc.,

           2012 WL 279448 (S.D. Fla. 2012). A number of Courts have addressed the issue of a

           Plaintiff being charged with all agreeing that the

           TCPA does not require a Plaintiff who received calls on his/her cell phone to allege that

           he/she was charged for the call.

           For example, in Manno v.Healthcare Revenue Recovery Grp .. LLC, 289 F.R.D . 674

           (S.D. Fla. 2013) , the Court held that "The TCPA

           does not require the plaintiff to be 'charged for' the calls in order to have standing to

           sue." In Osorio v. State Farm Bank. F.S.B.,

           746 F.3d 1242 (11 1h Cir. 2014), the Court stated: If the phrase ·any service for which the

           called party is charged for the call' requires

           that the party be charged per call for the 'paging service, cellular telephone service,

           specialized mobile radio service, or other radio




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           common carrier service' in order for the party to prohibit autodialed calls, then the listing

           of these services would be superfluous

           because they are already included under them 'any service for which the called party is

           charged.' On the other hand, reading

           'any service for which the called party is charged for the call' as an additional item

           beyond any call to a 'paging service, cellular

           telephone service, specialized mobile radio service, or other common carrier service,'

           regardless of whether the called party is

           charged, gives independent meaning to each term."

                  13.    It is thus clear from the plain language of the TCPA, and its considerable

           body of resultant case law that the TCPA

           is violated when a cellular telephone is called with an automatic dialer without consent,

           even if no charges are alleged or incurred.

                  14.    With the autodialed calls to Plaintiff's telephone commencing on or about

           August 2016 and continuing at a rate of

           approximately (150) times thereafter, the Defendant violated various provisions of the

           TCPA, including but not limited to

           47 USC §227(b)(A)(iii).

                  15.    Pursuant to the TCPA Omnibus Declaratory Ruling and Order, July 2015,

           paragraphs 138 and 139, communications

           from banking institutions which are exempt" ... are all intended to address exigent

           circumstances in which a quick, timely




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          communication with a consumer could prevent considerable consumer harms from

          occurring or, in the case of the remediation calls,

          could help quickly mitigate the extent of harm that will occur." Pursuant to Paragraph

           139, (3) and (7) "In light of these considerations,

          we adopt the following conditions for each exempted call (voice call or text message)

          made by a financial institution:

           3) voice calls and text messages are strictly limited to purposes discussed in paras.

           129-137 above and must not include any

          telemarketing, cross-marketing, solicitation, debt collection, or advertising content;

           7) a financial institution must honor opt-out requests immediately."

                  16.    Defendant is in violation of the TCPA paragraphs 139 (3) for, upon

           information and belief, having used their calls

           for debt collection and (7), failing to honor Plaintiffs' desire to opt out of telephone

           communications despite Plaintiff's clear,

           unequivocal and repeated requests that such automatic calls cease.

                  17.     Defendant violated various provisions of the TCPA, including but not

           limited to 47 USC §227(b)(A)(iii).




                  PRAYER FOR RELIEF

                  WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

                         A.      For trebled damages to be awarded to the Plaintiff in accordance

           with the TCPA, for each of the Defendant's




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          willful or knowing violations of the TCPA, in the amount of $225,000.00;

                       B.     A declaration that the Defendant's practices violated the TCPA;

                       C.     For any such other and further relief, as well as further costs,

          expenses and disbursements of this action, as this Court may deem just and proper.

           Dated:      April 3, 2017



                                            Respectfully submitted,




                                            EDWARD B. GELLER, ESQ.
                                            EDWARD B. GELLER, ESQ., P.C. , OF COUNSEL
          TO
                                            M. HARVEY REPHEN & ASSOCIATES, P.C.
                                            15 LANDING WAY
                                            BRONX, NEW YORK 10464
                                            TEL:(914)473-6783

                                            Attorney for the Plaintiffs',
                                            GABRIEL FRANCIS




                 To: BLUESTEM BRANDS (OBA) FINGERHUT
                     6509 FLYING CLOUD
                     EDEN PRAIRIE, MN 555344




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                                      COMPLAINT

                               Edward B. Geller, Esq., P.C., Of Counsel to
                               M HARVEY REPHEN & ASSOCIATES, P. C.
                                           15 Landing Way
                                       Bronx, New York 10464
                                      Phone:      (914)473-6783




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                                     ATIORNEY AFFIRMATION

            I, the undersigned, an attorney admitted to practice in the courts

           of New York State, state that I am the attorney of record for

           Plaintiff Gabriel Francis in the within action. I have read the

           foregoing Summons and Complaint and same is true to my own

           knowledge, except as to the matters stated to be alleged on
           information

           and belief, and as to those matters I believe it to be true, and the
           reason

           this Affirmation is made by deponent and not by the Plaintiff is because

           records belonging to Plaintiff are in my possession. The grounds of

           deponent's belief as to all matters not stated upon deponent's
           knowledge

           are communications with the Plaintiff and copies of Plaintiff's

           records in my possession.



           I affirm that the foregoing statements are true, under the penalty

           of perjury.



           Dated: April 3, 2017



                                                         Edward B. Geller, Esq.

                                                         Edward B. Geller, Esq., P.C.




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